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PROB 22                                                                                                          DOCKET NUMBER (Tran. Court)
(Rev. 11/23)                                                                                                     1: 15CR00680-2
                                TRANSFER OF JURISDICTION
                                                                                                                 DOCKET NUMBER (Rec. Court)
                                                                                                                 24tp80011 Middlebrooks
 NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:                       DISTRICT

                                                                            SOUTHERN DISTRICT OF NEW YORK
 Carlton Patrick Cabot
                                                                            NAME OF SENTENCING JUDGE
                                                                            Hon. Jesse M. Furman, U.S.D.J

                                                                            DATES OF PROBATION/SUPERVISED             FROM         TO
                                                                            RELEASE:
                                                                                                                      07/20/2023   07/19/2026
 OFFENSE


Ct.2: Manipulative and Deceptive Devices in Violation of 15 U.S.C. 78J.F, a Class C Felony

                                                                                                                                   TM
 JUSTIFICATION/REASON FOR TRANSFER (e.g., prosocial ties, employment/education opportunities, violation of supervision)
                                                                                                                          May 29, 2024
Longstanding residence and prosocial ties in the Southern District of Florida
                                                                                                                                         WPB

 PART 1 - ORDER TRANSFERRING JURISDICTION


 UNITED STATES DISTRICT COURT FOR THE "SOUTHERN DISTRICT OF NEW YORK"


            IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised releasee
 named above be transferred with the records of the Court to the United States District Court for the Southern District of Florida upon
 that Court's order of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or supervised
 release may be changed by the District Court to which this transfer is made without further inquiry of this Court.*
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                May 15, 2024
               Date
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By endorsement of the Transfer of Jurisdiction document, (Probation 22) and u/on applica~n of the United States of
America, by and through the U.S. Probation Office, it is hereby ORDERED that in order to effectuate the Transfer of
Jurisdiction of Carlton Cabot's supervision from the Southern District of New York to the Southern District of Florida, the
sealed records of the Court in the above-styled matter relating to Carlton Cabot are unsealed for the limited purpose of
transferring those records to the United States District Court for the Southern District of Florida and to the Probation
Department in that district.

 *This sentence may be deleted in the discretion of the transferring Court.

 PART 2 - ORDER ACCEPTING JURISDICTION

 UNITED STATES DISTRJCT COURT FOR THE SOUTHERN DISTRJCT OF FLORIDA


          IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted and
 and assumed by this Court from and after the entry of this order.

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                                                                                     United State£'Di's!,!~Judge
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               Effective Date
